PS-8
8/88
                            UNITED STATES DISTRICT COURT
                                        for the
                         EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Kevin Lee Morris                                                   Docket No. 4:24-CR-78-1D

                         Petition for Action on Conditions of Pretrial Release

   COMES NOW Jonathan A. Holmes, U.S. Probation Officer of the court, presenting an official report
upon the conduct of defendant, Kevin Lee Morris, who was placed under pretrial release supervision by the
Honorable Kimberly A. Swank, U.S. Magistrate Judge, sitting in the Court at Greenville, on the 6th day of
February, 2025.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

Since his release to pretrial supervision on February 6, 2025, the defendant has continued to reside at
Healing Transitions in Raleigh, North Carolina. The defendant is in full compliance with the Healing
Transitions program as well as his other terms of pretrial release, including location monitoring. Based on
his compliance, it is recommended that his location monitoring component be reduced to stand alone
monitoring.

The defendant signed a Waiver of Hearing agreeing to the proposed modification.

PRAYING THAT THE COURT WILL ORDER:

       1. The defendant must participate in the following location restriction program and comply with
          its requirements as directed: Stand Alone Monitoring.

Except as herein modified, the Order Setting Conditions of Release shall remain in full force and effect.



                                                     I declare under penalty of perjury that the foregoing
                                                     is true and correct.


                                                     /s/ Jonathan A. Holmes
                                                     Jonathan A. Holmes
                                                     U.S. Probation Officer
                                                     310 New Bern Avenue, Room 610
                                                     Raleigh, NC 27601-1441
                                                     Phone: 919-861-8699
                                                     Executed On: June 9, 2025




           Case 4:24-cr-00078-D-BM          Document 45        Filed 06/09/25     Page 1 of 2
Kevin Lee Morris
Docket No. 4:24-CR-78-1D
Petition For Action
Page 2
                                    ORDER OF THE COURT

Considered and ordered the _______
                                 9th day of __________________,
                                                June            2025, and ordered filed and made part
of thee records in the above case.
                             caase
                                s .

_____
________________________________
   _ ________
            __________________
               _             _____
                                ____
Kimberly
Kiimberly A.  Swank
          A. Sw
              S  ank
U.S. Magistrate Judge




           Case 4:24-cr-00078-D-BM        Document 45      Filed 06/09/25    Page 2 of 2
